Case 23-03091-mvl    Doc 18-2 Filed 01/10/24 Entered 01/10/24 17:46:35   Desc
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                                 Exhibit 2
       Case 23-03091-mvl               Doc 18-2 Filed 01/10/24 Entered 01/10/24 17:46:35                                   Desc
                                      Exhibit 2 - Automation Email Page 2 of 3


From:            Sondrup, Samantha K. [ssondrup@goodmansolutions.com]
Sent:            10/13/20211:32:34 AM
To:              Terhesh, Jo Ella [JTerhesh@goodmansolutions.com]; Elmore, Stephanie S. [selmore@goodmansolutions.com ]
CC:              james.frinzi@gnetatc.com; Seago, Steve W. [SSeago@goodmansolutions.com]
Subject:         RE: Fedex Synopsis


Really Nice work on this Jo Ella.

We see you!!



G
Samantha Sondrup
Chief of Staff
GOODMAN SOLUTIONS

From: Terhesh, Jo Ella <JTerhesh@goodmansolutions.com>
Sent: Tuesday, October 12, 20214:34 PM
To: Sondrup, Samantha K. <ssondrup@goodmansolutions.com>; Elmore, Stephanie S.
<selmore@goodmansolutions.com>
Cc: james.frinzi@gnetatc.com; Seago, Steve W. <SSeago@goodmansolutions.com>
Subject: RE: Fedex Synopsis

Good afternoon all,

Here is a summary of the FedEx Accessories Packaging project:

D365 Customer: Cl0033
D365 Vendor: V303090
D365 Project: ATCVAR-006

Gross Margin July 2019 - June 2020 = $560,364 (from previous Genesis ATC financial statement)
Gross Margin October 2020 - September 2021 (pallet moves ONLY) = $206,357.71 - does not include the .2% margin on all
automated purchase and sales transactions estimated below at $274,142.70 for total of $480,500.41

GNET ATC, LLC has automated purchase order and invoice transactions in D365 (previously were automated in Great Plains) that
account for the purchase of mobile device accessories from FedEx and sale back to FedEx at .2% margin. In other words, the sales
price is .2% higher than the purchase price. GNET ATC also receives and processes weekly Express Employment Professionals temp
agency invoices for the temp labor used in Ft. Worth by FedEx to move pallets related to this project within their facility. At the end
of every month, FedEx will provide GNET ATC with an estimated pallet move count and GNET will accrue revenue at $8.50 per
pallet (should be a reversing accrual). Around the 15111 of the following month, FedEx will confirm final pallet moves for the prior
month and GNET ATC will invoice actual revenue in D365 which will be offset by the reversing accrual from the previous month
end.

I have attached the last 12 months transactions pulled from D365 today for project ATCVAR-006 (11,439 records, but I believe most
of these should be doubled because the revenue and COGS are listed on the same line). I successfully matched up all of the pallet
move revenue for the past 12 months at $276,462.50 from my tracking file with the D365 On-Account transaction type, but it appears
to me that the revenue accrual for September was actually booked as an expense instead of revenue? I also matched up “most” of the
pallet move temp agency invoices from my tracking file, but I believe some of these temp invoices are missing and should be coded to
this project totaling an additional expense of $9,681.32 for total 12 month temp labor of $70,104.79. Lastly, there are several
September 2021 revenue transactions coded as “Custom Work” totaling $330,500.33 and one expense coded as “Shipping and
Freight” for $21.60 that I cannot match to anything and may be coded to the wrong project?

If you filter column E to “Materials”, this seems to be the best representation of the automated purchase and sale transactions for the
12 month period. However, there are 45 transactions with COGS only and no revenue. If we remove these rows noted with green
font (cost of $334,685.11), all other transactions indicate an accurate margin of .2% overall.




                                                                                                                            FedEx 000280
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Revenue           $137,280,053.20
COGS               $137.005.910.50 (not including above $334,685.11 COGS only)
Margin          $    274,142.70 or .2% gross margin

If you would like to discuss further, please let me know.

Thanks,

Jo Ella



G
Jo Ella Terhesh
Vice President, Supply Chain and Logistics
GOODMAN SOLUTIONS

From: Sondrup, Samantha K. <ssondrup@goodmansolutions.com>
Sent: Tuesday, October 12, 2021 12:09 AM
To: Elmore, Stephanie S. <selmore@goodmansolutions.com>; Terhesh, Jo Ella <JTerhesh@goodmansolutions.com>
Cc: james.frinzi@gnetatc.com
Subject: Fedex Synopsis

Can Either of you provide a synopsis on Fedex project?

What do we do for program?
Any Transactional count detail?
Financials (as applicable)?



G
Samantha Sondrup
Chief of Staff
GOODMAN SOLUTIONS

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